Case 20-40208-mxm11           Doc 25     Filed 02/13/20 Entered 02/13/20 10:22:57       Desc Main
                                       Document      Page 1 of 3
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 ATTORNEYS FOR HEB GROCERY COMPANY, LP


                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                  FORT WORTH DIVISION

                                                     §
 IN RE:                                              §        Chapter 11
                                                     §
 TODD MEAGHER                                        §        Case No. 20-40208-mxm11
                                                     §
                 Debtor.                             §

                                        NOTICE OF HEARING


          PLEASE TAKE NOTICE that the Bankruptcy Court has set a hearing on HEB Grocery

 Company, LP’s Motion for Relief from the Automatic Stay to Proceed with Pre-Petition Claims

 for Injunctive Relief (Dkt. 22) for Wednesday, March 4, 2020 at 9:30 a.m. at Eldon B. Mahon

 U.S. Courthouse at 501 W. 10th Street, Fort Worth, TX 76102 in Room 128.
Case 20-40208-mxm11       Doc 25     Filed 02/13/20 Entered 02/13/20 10:22:57         Desc Main
                                   Document      Page 2 of 3



                                         Respectfully submitted,

  /s/ Rebecca L. Petereit_____________              /s/ Louis T. Pirkey________________

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                                                2
Case 20-40208-mxm11         Doc 25     Filed 02/13/20 Entered 02/13/20 10:22:57              Desc Main
                                     Document      Page 3 of 3



                                  CERTIFICATE OF SERVICE

        I hereby certify that on February 13, 2020, a true and correct copy of the foregoing was
 served on all parties entitled to service, including the entire creditor matrix in this case, via this
 Court’s Electronic Filing System, or otherwise by first class mail.



                                                 /s/ Matthew D. Struble
                                                Matthew D. Struble




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